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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
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                                                             Chapter 11
  In re:
  LTL MANAGEMENT, LLC,1                                      Case No.: 23-12825 (MBK)

                            Debtor.                          Honorable Michael B. Kaplan


                NOTICE OF MOTION FOR ENTRY OF PROTECTIVE ORDER

         PLEASE TAKE NOTICE, that the date and time specified in the Order Shortening

 Notice, the undersigned, as local bankruptcy counsel for the Official Committee of Talc Claimants

 (the “Committee”) of LTL Management LLC, (“LTL” or the “Debtor”), shall move before the

 Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the United States Bankruptcy

 Court, for the District of New Jersey, Courthouse, 402 East State Street, Trenton, New Jersey

 08608, seeking the entry of the order submitted with this motion, and for such other relief that is

 just and proper.

         PLEASE TAKE FURTHER NOTICE, that the undersigned shall rely upon the motion

 filed herewith in support of the relief sought.

         PLEASE TAKE FURTHER NOTICE, that oral argument is requested.

         PLEASE TAKE FURTHER NOTICE, that no brief is being filed herewith since the

 legal basis upon which relief should be granted is set forth in the Motion.

         PLEASE TAKE FURTHER NOTICE, that all objections must be in writing and filed

 consistent with the Order Shortening Notice with the Clerk of the United States Bankruptcy Court,

 for the District of New Jersey, Courthouse, 402 East State Street, Trenton, New Jersey 08608, and

 a copy thereof must simultaneously be served upon GENOVA BURNS, LLC., Attn: Daniel M.

 Stolz, Esq., 110 Allen Road, Suite 304, Basking Ridge, New Jersey 07920.


         1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s
 address is 501 George Street, New Brunswick, New Jersey 08933.
                                                         2
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                                Respectfully submitted,

                                   GENOVA BURNS, LLC


                                    /s/Donald W. Clarke
                                By: ____________________________

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                                       Local Counsel to the Official Committee
                                       of Talc Claimants of LTL Management, LLC




                                          3
